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                   EXHIBIT G
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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.



        DECLARATION OF AMY SPITALNICK IN SUPPORT OF PLAINTIFFS’
       SUBMISSION REGARDING VENUE FOR TRIAL AND TRIAL LOGISTICS
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         I, Amy Spitalnick, declare as follows:

         1.      I am the Executive Director of Integrity First for America (IFA), the not-for-

 profit organization that is supporting Plaintiffs in Sines v. Kessler.

         2.      I provide this declaration in support of Plaintiffs’ Submission Regarding Venue for

 Trial and Trial Logistics.

         3.      The statements made in this declaration are based on my personal knowledge. If

 called to testify, I could and would testify under oath competently and truthfully to each of the

 statements in this declaration.

         4.      On behalf of the Plaintiffs, IFA is funding a number of out-of-pocket expenses

 in the case, including travel and lodging costs related to trial, in addition to evidence collection

 costs for both Plaintiffs and Defendants alike, security for Plaintiffs and their counsel, and

 similar related expenses.

         5.      Beginning this spring, in reliance on the Court’s prior orders scheduling trial to

 start on October 25, 2021 in Charlottesville, we began searching for a hotel that could provide

 lodging and workspace for Plaintiffs’ counsel, expert witnesses, and other parties involved. With

 the scheduled trial date approaching, and given the large number of rooms required and the

 demand for Charlottesville hotel rooms during fall weekends, it was critical to book the hotel

 this spring so that Plaintiffs or their counsel would not have to move hotels mid-trial.

         6.      The search required finding a hotel that could not only provide food, lodging, and

 workspace, but that also could accommodate the reasonable security concerns of Plaintiffs, their

 counsel, and expert witnesses, as determined by our outside security consultants.

         7.      As a result of those efforts, on May 24, 2021 we signed a contract with a

 Charlottesville-area hotel that could meet these requirements.
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        8.      The contract stipulates a cancellation penalty of 50 percent of the revenue

 commitment if the reservation is canceled at least 91 days prior to the mid-October 2021 arrival

 date, totaling over $100,000.

        9.      We would be happy to provide a copy of the full contract to the court under seal

 and in camera in order to protect the identity of the hotel in question, which is information we

 would like to keep confidential in order to account for security-related reasons.

        10.     Integrity First for America is a small 501(c)3 organization and we’re continuing

 to raise funds to cover expenses in this case, as described above. A loss of over $100,000 would

 be hugely detrimental to our finances and our ability to fund the above-described costs.

        11.     I declare under penalty of perjury that the foregoing is true and correct. Executed

 on June 10, 2021 in New York, NY.



                                      ____________________________
                                      Amy Spitalnick




                                                 3
